        Case 04-73051          Doc 9     Filed 10/13/04 Entered 10/16/04 01:38:02               Desc Imaged
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Form B18 (Official Form 18)(12/03)

                                     United States Bankruptcy Court
                                              Northern District of Illinois
                                                    Case No. 04−73051
                                                        Chapter 7

 In re: Debtor(s) (name(s) used by the debtor(s) in the last 6 years, including married, maiden, trade, and address):
     Cathy R Flock
     aka Cathy R Slater
     1227 West 6th Street
     Sterling, IL 61081
 Social Security No.:
    xxx−xx−3966
 Employer's Tax I.D. No.:



                                            DISCHARGE OF DEBTOR

 It appearing that the debtor is entitled to a discharge,

 IT IS ORDERED:

 The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                             FOR THE COURT

 Dated: October 13, 2004                                     Kenneth S. Gardner, Clerk
                                                             United States Bankruptcy Court



                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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FORM B18 continued (7/97)


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

       This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case
and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For
example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to
attach wages or other property, or to take any other action to collect a discharged debt from the debtor. [In a case
involving community property:] [There are also special rules that protect certain community property owned by the
debtor's spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required
to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest,
against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case.
Also, a debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

      The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this
case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to
debts owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

       Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

       a. Debts for most taxes;

       b. Debts that are in the nature of alimony, maintenance, or support;

       c. Debts for most student loans;

       d. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

       e. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle while intoxicated;

       f. Some debts which were not properly listed by the debtor;

       g. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
       discharged;

       h. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
       compliance with the Bankruptcy Code requirements for reaffirmation of debts.


      This information is only a general summary of the bankruptcy discharge. There are exceptions
to these general rules. Because the law is complicated, you may want to consult an attorney to determine the
exact effect of the discharge in this case.
            Case 04-73051            Doc 9      Filed 10/13/04 Entered 10/16/04 01:38:02                         Desc Imaged
                                               Certificate of Service Page 3 of 3
 Enterprise Systems Incorporated
 11487 Sunset Hills Road
                                   CERTIFICATE OF SERVICE
 Reston, Virginia 20190-5234

 District/off: 0752-3                 User: kmarko                        Page 1 of 1                         Date Rcvd: Oct 13, 2004
 Case: 04-73051                       Form ID: b18                        Total Served: 32

 The following entities were served by first class mail on Oct 15, 2004.
 db        +Cathy R Flock,    1227 West 6th Street,    Sterling, IL 61081-3127
 aty       +Marvin G Ripley,    302 First Ave Suite 307,    Sterling, IL 61081-3676
 tr        +Megan G Heeg,    Ehrmann Gehlbach Badger & Lee,     Pob 447- 215 E First St, Ste 100,
               Dixon, IL 61021-0447
 8173449   +Allied Interstate,    3111 S. Dixie Highway, Suite 101,     West Palm Beach, FL 33405-1570
 8173451   +Blatt, Hasenmiller, Leibsker & Moore LLC,     2 N. LaSalle Street, Suite 900,     Chicago, IL 60602-4039
 8173452   +Blatt, Hasenmiller, Leibsker & Moore LLC,     2 N La Salle St Ste 900,    Chicago, IL 60602-4039
 8173454   +CCE Network,    PO Box 24500,   Rochester, NY 14624-0500
 8173456   +CGH Medical Center,    100 East LeFevre Road,     Sterling, IL 61081-1279
 8173453    Capital One,    Capital One Services,    PO Box 85015,    Richmond, VA 23285-5015
 8173455   +Celletti, Ida Marie,    1211 Shore Acres Road,     Rock Falls, IL 61071-1447
 8173457   +City Of Rock Falls,    Utilities Office,    603 W. 10th Street,    Rock Falls, IL 61071-1576
 8173458    Cross Country Bank,    PO Box 310711,    Boca Raton, FL 33431-0711
 8173459   +Dairyland Insurance Company,    Sentry Family Of Insurance Companies,     PO Box 8034,
               Stevens Point, WI 54481-8034
 8173460   +Education Direct,    PO Box 24500,    Rochester, NY 14624-0500
 8173461   +FedChex Recovery,    PO Box 18978,    Irvine, CA 92623-8978
 8173447   +Flock Cathy R,    1227 West 6th Street,    Sterling, IL 61081-3127
 8173462   +Home Interiors & Gifts,    2629 Dickerson Parkway,     Carrolton, TX 75007-4408
 8173463    Household Bank,    Household Credit Services,     PO Box 80460,   Portland, OR 97280-1460
 8173464   +Household Tax Masters Inc.,    Churchmans’s Corporate Center,     90 Christiana Road,
               New Castle, DE 19720-3118
 8173465   +Illinois Student Assistance Commission,     1755 Lake Cook Road,    Deerfield, IL 60015-5209
 8173466   +Iowa Steak Company,    2150 Delavan Ste 1,     West Des Moines, IA 50265-5537
 8173448   +Marvin G Ripley,    Attorney At Law,    302 First Avenue Suite 307,    Sterling, IL 61081-3676
 8173467    Midland Credit Management, Inc.,     PO Box 939019,    San Diego, CA 92193-9019
 8173468   +NCO Portfolio Management, Inc.,     1804 Washington Blvd,    Baltimore, MD 21230-1700
 8173469   +Nicor,   Attention: Bankruptcy & Collections,       PO Box 549,   Aurora, IL 60507-0549
 8173470   +Northland Group Inc.,    PO Box 390846,    Edina, MN 55439-0846
 8173471   +Professional Career Development Institut,     6065 Roswell Road    Suite 3118,    Atlanta, GA 30328-4011
 8173472    RRCA Accounts Management Inc.,     312 Locust St,    Sterling, IL 61081-3539
 8173473   +Southwest Credit Systems, Inc.,     PO Box 115151,    2629 Dickerson Parkway,
               Carrollton, TX 75007-4490
 8173475    U.S. Department Of Education,    Direct Loan Servicing Center,     POB 4609,    Utica, NY 13504-4609
 8173474    U.S. Department Of Education,    Direct Loan Servicing Center,     POB 530260,
               Atlantic, GA 30353-0260
 The following entities were served by electronic transmission on Oct 14, 2004 and receipt of the transmission
 was confirmed on:
 8173450   +EDI: ARROW.COM Oct 14 2004 00:55:00     Arrow Financial Services,   5996 W. Touhy Avenue,
               Niles, IL 60714-4610
 8173464   +EDI: HFC.COM Oct 14 2004 00:56:00     Household Tax Masters Inc.,   Churchmans’s Corporate Center,
               90 Christiana Road,   New Castle, DE 19720-3118
                                                                                             TOTAL: 2
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                              TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: Oct 15, 2004                                      Signature:
